           Case 5:20-cr-50002-TLB Document 52                        Filed 11/09/20 Page 1 of 7 PageID #: 201
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                        UNITED STATES DISTRICT COURT
                                       Western District of Arkansas
                                                     )
              UNITED STATES OF AMERICA               )     JUDGMENT IN A CRIMINAL CASE
                         v.                          )
                                                     )
                                                     )     Case Number:            5:20CR50002-001
                  AARON GATEWOOD                     )     USM Number:             15607-010
                                                     )
                                                     )     Kimberly R. Weber
                                                     )     Defendant’s Attorney(s)
THE DEFENDANT:
    pleaded guilty to count(s) Two (2) and Three (3) of the Indictment on April 30, 2020.

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                    Offense Ended             Count
18 U.S.C. §§ 2251(a) and         Production of Child Pornography                                       05/30/2019                 2
(e)

18 U.S.C. §§ 2251(a) and         Production of Child Pornography                                       06/08/2019                  3
(e)

       The defendant is sentenced as provided in pages 2 through            7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

                One (1) and Four (4) of the
    Count(s)                                             is        are dismissed on the motion of the United States.
                Indictment

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                     November 4, 2020
                                                                     Date of Imposition of Judgment




                                                                     Signature of Judge




                                                                     Honorable Timothy L. Brooks, United States District Judge
                                                                     Name and Title of Judge

                                                                      November 9, 2020
                                                                     Date
              Case 5:20-cr-50002-TLB Document 52                            Filed 11/09/20 Page 2 of 7 PageID #: 202
AO 245B (Rev. 09/19)   Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                    Judgment — Page    2        of   7
 DEFENDANT:                    AARON GATEWOOD
 CASE NUMBER:                  5:20CR50002-001

                                                             IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:      three hundred sixty (360) months on Count Two and three hundred sixty (360) months on Count
                       Three, with all but forty-five (45) months to run concurrently with Count Two, and forty-five (45)
                       months on Count Three to run consecutively to Count Two, for a total period of incarceration of
                       four hundred five (405) months.


            The court makes the following recommendations to the Bureau of Prisons:
                1. That the defendant be evaluated for and given the opportunity to participate in SOTP, which is the Bureau of
                    Prisons’ highest level of sex offender treatment;
                2. That the defendant be evaluated for any underlying mental health issues and be afforded appropriate treatment
                    that would include more formal diagnosing of any autism, autism spectrum disorder, and any unresolved mental
                    health issues from his past abuse;
                3. That the defendant be designated to an appropriate facility nearest to Northwest Arkansas; and
                4. That the defendant be permitted to participate in RDAP.

            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
                at                                    a.m.         p.m.         on                                          .
                as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on                                            .
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                      to

 at                                                 , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL




                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
           Case 5:20-cr-50002-TLB Document 52                        Filed 11/09/20 Page 3 of 7 PageID #: 203
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                    Judgment—Page     3     of        7
DEFENDANT:                 AARON GATEWOOD
CASE NUMBER:               5:20CR50002-001
                                                      SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: life on each count, to run concurrently.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                              Judgment—Page        4       of         7
DEFENDANT:                   AARON GATEWOOD
CASE NUMBER:                 5:20CR50002-001

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
      within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.



Defendant's Signature                                                                                  Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                             Judgment—Page    5     of     7
DEFENDANT:                  AARON GATEWOOD
CASE NUMBER:                5:20CR50002-001

                                       SPECIAL CONDITIONS OF SUPERVISION

1.       If deemed necessary, the defendant shall submit to any means utilized by the U.S. Probation Office to track his
         whereabouts or location at any time.

2.       The defendant shall have no unsupervised contact with minors. If there is a concern about the potential for
         inadvertent contact with a minor at a particular place, function, or event, then the defendant shall get approval from
         the U.S. Probation Office before attending any such place, function, or event.

3.       The defendant shall have no contact with the victim in this case.

4.       The defendant shall submit his person, residence, place of employment, vehicle, papers, computer, other electronic
         communication or data storage devices or media, and effects to a search conducted by the U.S. Probation Office at
         a reasonable time and in a reasonable manner based upon reasonable suspicion that a violation of any condition of
         supervised release might thereby be disclosed.

5.       Except for purposes of employment (when the defendant is working on his employer’s premises using his
         employer’s computers and devices), the defendant shall not possess, use, or have access to a computer or any other
         electronic device that has Internet or photograph storage capabilities without prior advance notice and approval of
         the U.S. Probation Office. Reasonable requests by the defendant for such approval should not be denied, provided
         that the defendant allows the U.S. Probation Office to install Internet-monitoring software, the defendant pays for
         the software, and the defendant submits to random searches of his computers, electronic devices, and peripherals.

6.       The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, counseling, and/or
         treatment, as deemed necessary and as directed by the U.S. Probation Office.

7.       The defendant shall not purchase, possess, use, distribute, or administer marijuana or obtain or possess a medical
         marijuana card or prescription. If the defendant is currently in possession of a medical marijuana card, he will turn
         it over immediately to the probation office.

8.       The defendant shall submit to inpatient or outpatient mental health evaluation, counseling, testing and/or treatment,
         as deemed necessary and as directed by the U.S. Probation Office.

9.       The defendant shall participate in a sex offense-specific treatment program. The defendant shall pay for the costs
         of the program if financially able.

10.      The defendant shall be required to submit to periodic polygraph testing at the discretion of the probation office as a
         means to ensure that he is in compliance with the requirements of his supervision or treatment program.
              Case 5:20-cr-50002-TLB Document 52                             Filed 11/09/20 Page 6 of 7 PageID #: 206
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                     Judgment — Page     6       of       7
 DEFENDANT:                           AARON GATEWOOD
 CASE NUMBER:                         5:20CR50002-001
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                                                            JVTA
                   Assessment               Restitution               Fine                     AVAA Assessment*
                                                                                                                            Assessment**
 TOTALS        $ 200.00                 $ -0-                  $      9,800.00               $ -0-                        $ -0-


     The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

 Name of Payee                             Total Loss***                      Restitution Ordered                      Priority or Percentage




 TOTALS                           $                                     $

     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          the interest requirement is waived for the           fine           restitution.

          the interest requirement for the              fine       restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
      on
 or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                               Judgment — Page       7      of           7
 DEFENDANT:                 AARON GATEWOOD
 CASE NUMBER:               5:20CR50002-001

                                                        SCHEDULE OF PAYMENTS
 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of $          10,000.00             due immediately, balance due

                not later than                                      , or
                in accordance with            C          D,          E, or           F below; or

 B         Payment to begin immediately (may be combined with                   C,           D, or         F below); or

 C         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                              over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of up
           to 50% of the defendant’s available funds, in accordance with the Inmate Financial Responsibility Program. During residential
           reentry placement, payments will be 10% of the defendant’s gross monthly income. The payment of any remaining balance shall
           become a condition of supervised release and shall be paid in monthly installments of $25.00 or 10% of the defendant’s net monthly
           household income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of the
           period of supervised release.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                         Joint and Several                  Corresponding Payee,
      (including defendant number)                            Total Amount                          Amount                            if appropriate




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
 fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
 and court costs.
